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UNITED STATES DISTRICT COURT UME om
SOUTHERN DISTRICT OF NEW YORK ELECTRONICALLY FILED
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VRINGO, INC., et ano., DATE FILED: 3(24| IS
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Plaintiffs,
-against- 14-cv-4988 (LAK) (FM)
ZTE CORPORATION, et ano.,
Defendants.
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ZTE CORPORATION,
Plaintiff,
-against- 15-cv-0986 (LAK) (FM)
VRINGO, INC., et ano.,
Defendants.
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LEwis A. KAPLAN, District Judge.

Vringo’s motion to compel Guo Xiaoming’s deposition and to produce documents
[14-cv-4988 (LAK) DI 158, 15-cv-0986 (LAK) DI 107] is granted in each and every respect.
Without limiting the generality of the foregoing, the deposition shall take place in New York ona
date or dates agreed upon by the parties in a written stipulation filed with the Court or, if no such
stipulation is executed within one week from the date of this order, a date or dates fixed by
Magistrate Judge Maas. Among other considerations, it is essential, given the history of this
litigation, that the deposition take place here in order to permit immediate resolution of disputes
during the deposition. The ordinary default position that depositions of out-of-state defendants’
personnel should take place in the area where they work does not apply here because, among other
things, Guo Xiaoming’s employer, ZTE, is a plaintiff in one of these cases and thus voluntarily
chose to litigate in this forum. Moreover, as Magistrate Judge Maas already has observed, this
individual is not a class “apex” witness. And even if he were, the motion would be granted anyway.
See, e.g., Chevron Corp. v. Donziger, No. 11-cv-691 (LAK), 2013 WL 1896932 (S.D.N.Y. May 7,
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2013) (requiring deposition of chief executive officer of plaintiff Chevron); Speadmark, Inc. v.
Federated Dep’t Stores, Inc., 176 F.R.D. 116 (S.D.N.Y. 1997) (requiring deposition of chief
executive officer of defendant Federated).

It preliminarily appears that ZTE’s opposition to this motion was entirely frivolous
and, in any case, interposed for purposes of delay and harassment. Accordingly, Messrs. Perry and
Strauss and ZTE shall show cause, on or before August 7, 2015, why they should not be sanctioned,
pursuant to Fed. R. Civ. P. 11(c)(2) on the ground that their opposition to Vringo’s motion violated
Fed. R. Civ. P. 11(b), and, in any case, why they should not be required, pursuant to Fed. R. Civ. P.
37(a)(5)(A), to pay the movant’s reasonable expenses incurred in making this motion, including
attorney’s fees.

Any disputes concerning the date, time, duration and other matters arising in or in
connection with this deposition and the document production required by this order are referred to

Magistrate Judge Maas.

SO ORDERED.

Dated: July 24, 2015 [.
Lewis / is

United States District Judge

 
